                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


 ST. CLAIR COUNTY EMPLOYEES’                           )   CIVIL ACTION NO.: 3:18-cv-00988
 RETIREMENT SYSTEM, Individually and on                )
 Behalf of All Others Similarly Situated,              )
                                                       )   Judge William L. Campbell, Jr.
                                                       )   Magistrate Judge Alistair Newbern
                         Plaintiff,                    )
                                                       )
         v.                                            )
                                                       )
 ACADIA HEALTHCARE COMPANY, INC.,                      )
 et al.,                                               )
                                                       )
                         Defendants.                   )

              DECLARATION IN SUPPORT OF DEFENDANTS’ OPPOSITION
                TO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

        I, Milton S. McGee, III, declare as follows:

        1.       I am over 18 years of age and am competent to testify as to the matters stated in

this Declaration. I am a member of good standing of the Tennessee bar and am admitted to practice

in this Court. I am a member at the law firm of Riley Warnock & Jacobson, PLC and counsel for

Defendants Acadia Healthcare Company, Inc. (“Acadia”), Joey Jacobs, Brent Turner, and David

Duckworth (collectively, “Defendants”).        I hereby submit this Declaration in support of

Defendants’ opposition to Plaintiffs’ motion for class certification. I have personal knowledge of

the facts set forth within.

        2.       Attached as Exhibits 1 through 7 to this Declaration are true and correct copies of

the following documents.

        •     Exhibit 1: Expert Report of Lucy P. Allen dated February 28, 2022.




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       •    Exhibit 2: Excerpts from Acadia’s Form 10-K for the fiscal year ended December 31,
            2018.1

       •    Exhibit 3: Excerpts from the June 3, 2021 deposition of Plaintiffs’ expert Scott
            Dalrymple.

       •    Exhibit 4: Email dated November 16, 2018 produced by Rice Hall James & Associates,
            LLC, investment advisor to lead plaintiff and proposed class representative New York
            Hotels Fund, Bates labeled RHJA0000073-4.

       •    Exhibit 5: Excerpts from the June 8, 2021 deposition of Catherine Wenskus, corporate
            representative of Plaintiff Chicago & Vicinity Laborers’ District Counsel Pension
            Fund.

       •    Exhibit 6: Plaintiffs’ Responses and Objections to Acadia’s Second Set of
            Interrogatories.

       •    Exhibit 7: Excerpts from the June 29, 2021 deposition of Thao Buu-Hoan, corporate
            representative of Rice Hall James & Associates, LLC, investment advisor to lead
            plaintiff and proposed class representative New York Hotels Fund.

       3.      Pursuant to 26 U.S.C. § 1746, I declare, under penalty of perjury, that the foregoing

is true and correct to the best of my knowledge.

       Executed on March 1, 2022 in Nashville, Tennessee.

                                                     Respectfully submitted:

                                                     /s/ Milton S. McGee III
                                                     Milton S. McGee, III (TN #024150)
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   A complete version of Exhibit 2 is available upon request and accessible online at
https://www.sec.gov/edgar/browse/?CIK=1520697&owner=exclude.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of March, 2022, I electronically filed the following

document and accompanying exhibits with the Clerk of Court by using the CM/ECF system which

will send a notice of electronic filing to the following:

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                                              /s Steven A. Riley




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